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                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division


                               Case Number: 20-21716-CIV-MORENO

   VIOLET ADVISORS, S.A.

                  Plaintiff,

   vs.


   EXCELLENT AUTO GROUP, INC., LANCE
   JOSEPH, NICHOLAS AULAR, ALBERTO
   A. ALCIVAR, FANNY LEON, GERMAN
   JACOME, LUZA SAUREZ, ARMANDO
   FERNANDEZ, CB MARINE TOWING &
   SALVAGE, INC., CHRIS SMITH, RIO MIO,
   LLC, and THE ROUND, 27.08 meter twin
   engine pleasure yacht official number 745127,
   signal letters ZGDH3, in rem

               Defendants.
  _________________________________________/

                                  ORDER REQUIRING NOTICE

         THIS CAUSE came before the Court upon upon Plaintiff's Emergency Motion (D.E. 5),

  filed on April 24, 2020.

         THE COURT has considered the motion, the pertinent portions of the record, and being

  otherwise fully advised in the premises, it is

         ADJUDGED that Plaintiff shall provide notice of the complaint and the pending motions

  to Defendants. This request for an arrest in rem is not the typical dispute for failure to pay for

  services rendered, and rather, it includes allegations of fraud. Thus, the Court will not arrest the

  vessel without notice to the Defendants against whom serious accusations have been made. Upon
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  notice to the Defendants, the Court will then require a response and schedule a hearing in Open

  Court.

           DONE AND ORDERED in Chambers at Miami, Florida, this 30th of April 2020.




                                       ______________________________________
                                             FEDERICO A. MORENO
                                             UNITED STATES DISTRICT JUDGE

  Copies furnished to:

  Counsel of Record




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